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                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF LOUISIANA
                                      MONROE DIVISION


    JILL HINES, ET AL.                               CIVIL ACTION NO. 3:23-CV-00571

    VERSUS                                           CHIEF JUDGE TERRY A. DOUGHTY

    ALEX STAMOS, ET AL.                              MAGISTRATE JUDGE MCCLUSKY


        UNOPPOSED MOTION FOR EXTENSION OF TIME TO FILE RESPONSIVE
            PLEADINGS TO PLAINTIFFS’ FIRST AMENDED COMPLAINT

          Defendant The Aspen Institute (“Aspen”) respectfully moves for a 14-day extension of

   time, to and including December 18, 2023, to respond to Plaintiffs Jill Hines’s and Jim Hoft’s First

   Amended Complaint [Doc. #77]. In support, Aspen states as follows:

          1.         Plaintiffs commenced this action on May 2, 2023, by filing a Complaint [Doc. #1]

   in which they asserted claims against multiple defendants. Their Complaint did not name Aspen

   as a defendant.

          2.         In August 2023, the original defendants filed two motions—one seeking to compel

   arbitration [Doc. #69] and one seeking dismissal of the complaint [Doc. #70].

          3.         On October 17, 2023, while the original defendants’ motions remained pending,

   plaintiffs filed their First Amended Complaint, which added Aspen as a defendant. [Doc. #77.]

          4.         Aspen was served with the First Amended Complaint and summons on November

   13, 2023, making its answer due December 4, 2023. [See Doc. #87.]

          5.         On November 15, 2023, the Court entered an Order denying the original

   defendants’ Motion to Compel Arbitration. Doc. #88. That Order inadvertently referred to Aspen

   as having joined in that motion [id., p. 1 n.1], although Aspen had not joined the motion because

   it was not a party when the motion was filed. [See Doc. #69, p. 1 (motion to compel arbitration

   brought by “Defendants Alex Samis, Renée DiResta, and Board of Trustees of the Leland Stanford



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   Junior University, the Leland Stanford Junior University, The Stanford Internet Observatory

   (SIO), Kate Starbird, Graphika, Camille François, the Atlantic Council, the Atlantic Counsel’s

   Digital Forensic Research Lab (DFRLab), and Graham Brookie”).]

           6.         On October 26, 2023, the original defendants filed a Motion to Stay Proceedings

   or, Alternatively, to Extend Their Time to Respond to the First Amended Complaint. [Doc. #86.]

   On November 16, 2023, the original defendants noticed an appeal of the Order denying their

   Motion to Compel Arbitration [Doc. #89] and filed a Notice of Automatic Stay of Proceedings

   Pending Appeal Pursuant to the Federal Arbitration Act, 9 U.S.C. § 16(a) [Doc. #90].

           7.         On November 17, 2023, this Court denied as moot the original defendants’ Motion

   to Stay and entered an Order holding that “[p]ursuant to the Supreme Court of the United States’

   ruling in Coinbase, Inc. v. Bielski, 599 U.S. 736 (2023), this case is automatically stayed” during

   the appeal. [Doc. #92, p. 1.] The Court further ordered that this case be administratively terminated,

   and that “[a]ll pending deadlines and motions [be] stayed, to be re-urged by counsel when the time

   is right.” [Id.]

           8.         Aspen’s current deadline to respond to the First Amended Complaint is December

   4, 2023.

           9.         The stay based on Coinbase, does not apply to the claims against Aspen because is

   not a party to the appeal. See Coinbase, 599 U.S. at 740-741.

           10.        Aspen respectfully requests a 14-day extension of time—through and including

   December 18, 2023—to respond to the First Amended Complaint. Good cause exists for the

   extension because the Thanksgiving holiday fell during Aspen’s normal response deadline.

   Accordingly, Aspen has only recently retained counsel to defend this action. Given the complexity

   of the allegations—the First Amended Complaint is 103 pages long, with another 376 pages of




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   exhibits [Doc. #77]—the requested extension is needed to investigate the issues and prepare a

   response.

          11.     By requesting this extension of time, Aspen does not waive any objections to this

   Court’s jurisdiction or venue, and expressly preserves its right to move to dismiss under Federal

   Rule of Civil Procedure 12(b)(2) and/or Rule 12(b)(6) or to transfer the case. Aspen further

   preserves its right to file its own motion to compel arbitration.

          12.     On November 27, 2023 and again on November 28 and 29, Aspen’s counsel

   contacted plaintiffs’ counsel by email to meet and confer regarding the relief sought by this motion.

   Plaintiffs consented to the relief sought by this motion.

          13.     Pursuant to Local Rule 7.4.1, a certificate regarding the attempt by Aspen’s counsel

   to obtain plaintiffs’ counsel’s consent to this motion is attached.

          WHEREFORE, Aspen respectfully requests that the Court enter an Order extending

   Aspen’s deadline to respond to the First Amended Complaint until December 18, 2023.

    Dated: November 30, 2023                    Respectfully submitted,

                                                COOK, YANCEY, KING & GALLOWAY,
                                                A Professional Law Corporation

                                                By: /s/ Elizabeth M. Carmody
                                                        Elizabeth Mendell Carmody, #25792

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                                                ATTORNEYS FOR DEFENDANT THE ASPEN
                                                INSTITUTE




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                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a copy of the above and foregoing was filed with the United

   States District Court for the Western District of Louisiana by electronic case filing/case

   management. Notice of this filing will be sent to all counsel of record by operation of the electronic

   case filing system.

          Shreveport, Louisiana, this 30th day of November, 2023.


                                                     s/ Elizabeth M. Carmody
                                                  OF COUNSEL




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